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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

ANGELA ARCHIBALD, as Personal )
Representative of the Estate )
of JAMES ARCHIBALD, Deceased, )
                              )
     Plaintiff,               )
                              )
v.                            )         Case No. 18-cv-1101
                              )
NAVDEEP SINGH; and            )
ORBIT EXPRESS, INC.,          )
                              )
                              )
     Defendants.              )


                                COMPLAINT

                              JURSIDICTION

     This matter is brought pursuant to the Diversity of Citizen

Statute 28 U.S.C. Section 1332.

                               COUNT I
           (Negligence – Wrongful Death v. Navdeep Singh)

     Comes now the Plaintiff, by and through her attorneys,

KEEFE, KEEFE & UNSELL, P.C., and for Count I of her Complaint

against the defendant, NAVDEEP SINGH, states:

     1.    That on or about May 25, 2017, the defendant Navdeep

Singh was a citizen and resident of Brampton, Ontario Canada,

not resident in the United States.

     2.    That on or about May 25, 2017, and at all times herein

mentioned, the defendant Orbit Express, Inc. was a Canadian

corporation, incorporated in Canada, with its principal place of

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business in Brampton, Ontario, Canada, not resident in the

United States.

     3.     That on or about May 25, 2017, and at all times herein

mentioned, the decedent James Archibald was a citizen and

resident of the State of Illinois.

     4.     That on or about May 25, 2017, Navdeep Singh was an

employee of Orbit Express, Inc., and during the course of his

employment was operating a truck and trailer in such a way that

said truck and trailer were blocking both lanes of Illinois

Route 16.

     5.     That on or about said date, decedent James Archibald

was operating his vehicle westbound on Route 16 when it collided

with the vehicle owned and operated by defendants.

     6.     That the defendant Navdeep Singh was guilty of one or

more of the following negligent acts or omissions:

            a)   Negligently and carelessly parked his vehicle
                 such that it blocked both lanes of traffic on
                 Illinois Route 16.

     7.     That James Archibald died on February 9, 2018 and

Angela Archibald has been appointed representative of Decedent’s

estate.

     8.     That as a direct and proximate result of one or more

of the foregoing negligent acts or omissions on the part of the

defendant as aforesaid, James Archibald died, and his next of

kin have been permanently deprived of his love, companionship,
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society, consortium, services, benefits, income and support, and

they have suffered grief and sorrow and incurred and become

liable for large sums of money in hospital, medical, funeral,

and related expenses, all to their damage in a substantial

amount.

     WHEREFORE, Plaintiff demands judgment in an amount greater

than SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), plus costs.

                             COUNT II
       (Negligence – Wrongful Death v. Orbit Express, Inc.)

       Comes now the Plaintiff, by and through her attorneys,

KEEFE, KEEFE & UNSELL, P.C., and for Count II of her Complaint

against the defendant, ORBIT EXPRESS, states:

     1.    That on or about May 25, 2017, the defendant Navdeep

Singh was a citizen and resident of Brampton, Ontario Canada,

not resident in the United States.

     2.    That on or about May 25, 2017, and at all times herein

mentioned, the defendant Orbit Express, Inc. was a Canadian

corporation, incorporated in Canada, with its principal place of

business in Brampton, Ontario, Canada, not resident in the

United States.

     3.    That on or about May 25, 2017, and at all times herein

mentioned, the decedent James Archibald was a citizen and

resident of the State of Illinois.



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     4.     That on or about May 25, 2017, Navdeep Singh was an

employee of Orbit Express, Inc., and during the course of his

employment was operating a truck and trailer in such a way that

said truck and trailer were blocking both lanes of Illinois

Route 16.

     5.     That on or about said date, decedent James Archibald

was operating his vehicle westbound on Route 16 when it collided

with the vehicle owned and operated by defendants.

     6.     That the defendant Navdeep Singh was guilty of one or

more of the following negligent acts or omissions:

            a)   Negligently and carelessly parked his vehicle
                 such that it blocked both lanes of traffic on
                 Illinois Route 16.

     7.     That James Archibald died on February 9, 2018 and

Angela Archibald has been appointed representative of Decedent’s

estate.

     8.     That as a direct and proximate result of one or more

of the foregoing negligent acts or omissions on the part of the

defendant as aforesaid, James Archibald died, and his next of

kin have been permanently deprived of his love, companionship,

society, consortium, services, benefits, income and support, and

they have suffered grief and sorrow and incurred and become

liable for large sums of money in hospital, medical, funeral,

and related expenses, all to their damage in a substantial

amount.
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     WHEREFORE, Plaintiff demands judgment in an amount greater

than SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), plus costs.



                              COUNT III
              (Negligence – Survival v. Navdeep Singh)

     Comes now the Plaintiff, by and through her attorneys,

KEEFE, KEEFE & UNSELL, P.C., and for Count III of her Complaint

against the defendant, NAVDEEP SINGH, states:

     1.     That on or about May 25, 2017, the defendant Navdeep

Singh was a citizen and resident of Brampton, Ontario Canada,

not resident in the United States.

     2.     That on or about May 25, 2017, and at all times herein

mentioned, the defendant Orbit Express, Inc. was a Canadian

corporation, incorporated in Canada, with its principal place of

business in Brampton, Ontario, Canada, not resident in the

United States.

     3.     That on or about May 25, 2017, and at all times herein

mentioned, the decedent James Archibald was a citizen and

resident of the State of Illinois.

     4.     That on or about May 25, 2017, Navdeep Singh was an

employee of Orbit Express, Inc., and during the course of his

employment was operating a truck and trailer in such a way that

said truck and trailer were blocking both lanes of Illinois

Route 16.

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     5.    That on or about said date, decedent James Archibald

was operating his vehicle westbound on Route 16 when it collided

with the vehicle owned and operated by defendants.

     6.    That the defendant Navdeep Singh was guilty of one or

more of the following negligent acts or omissions:

           a)    Negligently and carelessly parked his vehicle
                 such that it blocked both lanes of traffic on
                 Illinois Route 16.

     7.    That James Archibald died on February 9, 2018 and

Angela Archibald has been appointed representative of Decedent’s

estate.

     8.    That as a direct and proximate result of one or more

of the foregoing negligent acts or omissions on the part of the

defendant as aforesaid, James Archibald was catastrophically

injured and suffered painful and permanent injuries including

brain damage, mental anguish, disability, disfigurement, and

loss of a normal life up to the time of his death, and incurred

hospital, medical and related expenses up to the time of his

death, all to his damage in a substantial amount.

     WHEREFORE, Plaintiff demands judgment in an amount greater

than SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), plus costs.




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                               COUNT IV
            (Negligence – Survival v. Orbit Express, Inc.)

     Comes now the Plaintiff, by and through her attorneys,

KEEFE, KEEFE & UNSELL, P.C., and for Count IV of her Complaint

against the defendant, ORBIT EXPRESS, INC., states:

     1.     That on or about May 25, 2017, the defendant Navdeep

Singh was a citizen and resident of Brampton, Ontario Canada,

not resident in the United States.

     2.     That on or about May 25, 2017, and at all times herein

mentioned, the defendant Orbit Express, Inc. was a Canadian

corporation, incorporated in Canada, with its principal place of

business in Brampton, Ontario, Canada, not resident in the

United States.

     3.     That on or about May 25, 2017, and at all times herein

mentioned, the decedent James Archibald was a citizen and

resident of the State of Illinois.

     4.     That on or about May 25, 2017, Navdeep Singh was an

employee of Orbit Express, Inc., and during the course of his

employment was operating a truck and trailer in such a way that

said truck and trailer were blocking both lanes of Illinois

Route 16.

     5.     That on or about said date, decedent James Archibald

was operating his vehicle westbound on Route 16 when it collided

with the vehicle owned and operated by defendants.

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     6.    That the defendant Navdeep Singh was guilty of one or

more of the following negligent acts or omissions:

           a)    Negligently and carelessly parked his vehicle
                 such that it blocked both lanes of traffic on
                 Illinois Route 16.

     7.    That James Archibald died on February 9, 2018 and

Angela Archibald has been appointed representative of Decedent’s

estate.

     8.    That as a direct and proximate result of one or more

of the foregoing negligent acts or omissions on the part of the

defendant as aforesaid, James Archibald was catastrophically

injured and suffered painful and permanent injuries including

brain damage, mental anguish, disability, disfigurement, and

loss of a normal life up to the time of his death, and incurred

hospital, medical and related expenses up to the time of his

death, all to his damage in a substantial amount.

     WHEREFORE, Plaintiff demands judgment in an amount greater

than SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), plus costs.



                                        /s/Thomas Q. Keefe, Jr.
                                        THOMAS Q. KEEFE, JR.
                                        IL REG NO. 03123418
                                        Attorney for Plaintiff

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